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                                                                                       ANNUAL ESCROW ACCOUNT
                                                                                         DISCLOSURE STATEMENT
P.O. Box 8068 | Virginia Beach, VA 23450




                                                                                                                      Statement Date:                   10/27/2021
      AVA MARKS
      C/O ROBERT SANCHEZ
      355 W 49TH ST
      HIALEAH FL 33012-3715




     Annual Escrow Account Disclosure Statement                                                Contact Us
     Loan Number:                                                                              Customer Service/Pay-by-Phone
     Review Period:                                    03/2021 to 12/2021
                                                                                               1.844.436.0374*
     Escrow Shortage:                                           $-248.97                       *Calls are randomly monitored and recorded to ensure quality service.

                                                                                               Hours
     Current Mortgage Payment                                                                  Monday - Friday: 8 a.m. to 10 p.m. EST
                                                                                               Saturday: 8 a.m. to 3 p.m. EST
     Principal and/or Interest:                                   $322.23
     Escrow (Taxes and/or Insurance):                             $443.68                      Website: www.tiaabank.myloancare.com
     Total Monthly Payment:                                      $765.91


                                                                                             Autodraft Customers: If your mortgage payment amount has
                                                                                             changed, we'll adjust your payment for you.
     New Mortgage Payment
     Principal and/or Interest:                                   $322.23
                                                                                             Online Bill Payment Customers: If your mortgage payment
                                                                                             amount has changed, you will need to contact your financial
     Escrow (Taxes and/or Insurance):                             $505.81                    services provider to adjust your payment.
     Prorated Shortage:                                            $20.75

     Total New Monthly Payment                                   $848.79
     Effective Due Date:                                     01/01/2022


     Account History
     The following statement of activity in your escrow account from 03/2021 through 12/2021 displays actual activity as it occurred in your escrow account
     during that period. If your loan was transferred by another mortgage servicer, the prior projection information may not be included below.
     Month              Activity                              Projected Amount          Actual Amount               Projected Escrow Balance      Actual Escrow Balance
                        Starting Balance                                                                                               $0.00                 $-10,070.53
     April              Deposit                                                             $1,082.84*                                 $0.00                  $-8,987.69
     July               Deposit                                                               $541.42*                                 $0.00                  $-8,446.27
     August             Deposit                                                               $985.10*                                 $0.00                  $-7,461.17
     September          Deposit                                                               $443.68*                                 $0.00                  $-7,017.49
     October            Deposit                                                           $11,778.93*E                                 $0.00                   $4,761.44
     November           Deposit                                                              $621.63*E                                 $0.00                   $5,383.07
     November           County Tax Disbursement                                            $3,393.71*E                                 $0.00                   $1,989.36
     December           Deposit                                                              $621.63*E                                 $0.00                   $2,610.99
     December           Hazard Insurance Disbursement                                      $2,676.00*E                                 $0.00                     $-65.01
                        Total Deposits                                      $0.00           $16,075.23
                        Total Disbursements                                 $0.00            $6,069.71
                        Account Balance as of 12/31/2021                                                                                                            $-65.01
     An asterisk (*) appearing next to the amount indicates a difference from projected activity either in the amount or the date. The letter “E” next to an
     amount indicates that the payment or disbursement has not yet occurred, but is estimated to occur on the date shown.

     Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $0.00. Your lowest monthly escrow
     balance should not have exceeded $0.00, which is either 1/6 (also equal to no more than two months) of the total projected payments from the
     account as required by federal law or the reasonable amount required by state law or the amount required by your mortgage contract. Your actual
     lowest monthly balance was $-8,987.69. The items with an asterisk on your Account History may explain this. For further explanation, call our toll-free
     number shown under the Contact Us section on this statement.




See reverse side for additional important information.
     AVA MARKS                                                                                                      Loan Number:
     C/O ROBERT SANCHEZ                                                                                                             New Monthly Payment Effective
                                                                                           Shortage Amount
                                                                                                                                    01/01/2022
     355 W 49TH ST
     HIALEAH FL 33012-3715                                                                 $-248.97                                 $848.79




                                                                                       Your shortage is $-248.97 and will be spread over a 12-month period.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Mortgage
Payment Change was served electronically or via U.S. Mail, first-class postage prepaid, to:


                                       SERVICE LIST

DEBTOR(S)
(VIA US MAIL)
Ava C Benjamin
2246 NW 61st Street
Miami, FL 33142-7829

DEBTOR(S) ATTORNEY
(VIA ELECTRONIC NOTICE)
Jose A Blanco
Jose A. Blanco, P.A.
jose@blancopa.com

CHAPTER 13 TRUSTEE
(VIA ELECTRONIC NOTICE)
Nancy K. Neidich
e2c8f01@ch13miami.com

UNITED STATES TRUSTEE
(VIA ELECTRONIC NOTICE)
Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

                                             Dated: December 3, 2021

                                             /s/ Jennifer Laufgas
                                             Jennifer Laufgas, FL Bar No. 56181
                                             Aldridge Pite, LLP
                                             Attorney for Secured Creditor
                                             Fifteen Piedmont Center
                                             3575 Piedmont Road, N.E., Suite 500
                                             Atlanta, GA 30305
                                             Phone: (561) 288-6815
                                             Fax: (888) 873-6147
                                             Email: jlaufgas@aldridgepite.com




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PROOF OF SERVICE
